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Western District of Tennessee DSJUN __8 &HH:E_i

UNITED STATES OF AMERICA §§g§?m$h£%;§p§$
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VS. Case Number 2:03CR20409-Ol

LEON JACKSON
Defendant.

A*M*E*N*D*E*D JUDGMENT AND COMMITMENT ORDER
ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Leon Jackson, was represented by Mary Catherine Jermannr Esq.
It appearing that the defendant, who was convicted on June 23, 2004 in the above

styled cause and Was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the Custody of the United States Bureau
of Prisons to be imprisoned for a term of four (4) months.

*The defendant is hereby ordered to self surrender on July 20, 2005.

Signed this the ag day of June, 2005.

    

ICE B. DONALD
UNITED STATES DISTRICT JUDGE

Defendant's SS No.: 414*15-5023

Defendant's Date of Birth: 10-06-1961

U.S. Marshal No.: 19266-076

Defendant‘s Mailinq Address: 1156 N. McNeil, Memphis, TN 38107

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This notice confirms a copy of the document docketed as number 65 in
case 2:03-CR-20409 Was distributed by faX, mail, or direct printing on
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Katrina U. Earley

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Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

